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 Fill in this information to identify the case:

 Debtor name            Enlightened Fitness and Wellness, Inc.

 United States Bankruptcy Court for the:                       SOUTHERN DISTRICT OF MISSISSIPPI

 Case number (if known)               16-51316
                                                                                                                                                                                      Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $                    0.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $                    0.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        8,700,000.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        7,230,996.89


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         15,930,996.89




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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 Fill in this information to identify the case:

 Debtor name         Enlightened Fitness and Wellness, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF MISSISSIPPI

 Case number (if known)         16-51316
                                                                                                                               Check if this is an
                                                                                                                               amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                              12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
        Yes Fill in the information below.
    All cash or cash equivalents owned or controlled by the debtor                                                             Current value of
                                                                                                                               debtor's interest
    INFORMATION NOT AVAILABLE

 Part 2:        Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable
           11a. 90 days old or less:                                 87,700.00   -                          87,700.00 = ....                         $0.00
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                  3,300.00   -                           3,300.00 = ....                         $0.00
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                  2,800.00   -                           2,800.00 = ....                         $0.00
                                              face amount                            doubtful or uncollectible accounts




 12.       Total of Part 3.                                                                                                                   $0.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                       page 1
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 Debtor         Enlightened Fitness and Wellness, Inc.                                        Case number (If known) 16-51316
                Name

13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used      Current value of
                                                                              debtor's interest      for current value          debtor's interest
                                                                              (Where available)

 39.       Office furniture
           Debtor has been unable to obtain its list of
           furniture.                                                                   Unknown                                              Unknown



 40.       Office fixtures
           Debtor has been unable to obtain its list of
           fixtures.                                                                    Unknown                                              Unknown



 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Debtor has been unable to obtain its list of
           equipment, etc.                                                              Unknown                                              Unknown



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles


 43.       Total of Part 7.                                                                                                                      $0.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
                No
                Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 2
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 Debtor         Enlightened Fitness and Wellness, Inc.                                        Case number (If known) 16-51316
                Name



        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of       Valuation method used      Current value of
           Include year, make, model, and identification numbers              debtor's interest       for current value          debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Debtor has been unable to obtain its list of
           machinery, etc.                                                              Unknown                                               Unknown




 51.       Total of Part 8.                                                                                                                   $0.00
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
                No
                Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and          Net book value of       Valuation method used     Current value of
           property                                       extent of           debtor's interest       for current value         debtor's interest
           Include street address or other                debtor's interest   (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1. Cedar Lake Wellness
                      1735 Richard Drive
                      Biloxi, MS 39532                    Lease                         Unknown                                               Unknown




 56.       Total of Part 9.                                                                                                                     $0.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

 57.       Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 3
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 Debtor         Enlightened Fitness and Wellness, Inc.                                       Case number (If known) 16-51316
                Name



 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
              No
              Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                           page 4
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 Debtor          Enlightened Fitness and Wellness, Inc.                                                              Case number (If known) 16-51316
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                     $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                                      $0.00       + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                          $0.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 5
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 Fill in this information to identify the case:

 Debtor name          Enlightened Fitness and Wellness, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF MISSISSIPPI

 Case number (if known)
                                                                                                                                               Check if this is an
                                                                                                                                               amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                      12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
           No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                     Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                 Amount of claim             Value of collateral
                                                                                                                                                 that supports this
                                                                                                                     Do not deduct the value     claim
                                                                                                                     of collateral.
 2.1    Trustmark National Bank                       Describe debtor's property that is subject to a lien                $8,700,000.00               $100,000.00
        Creditor's Name                               Various equipment and receivableslocated at
        PO Box 1182                                   1735 Richard Drive, Biloxi, MS 39532
        Loans Operations
        Jackson, MS 39215-1182
        Creditor's mailing address                    Describe the lien
                                                      Collateral
                                                      Is the creditor an insider or related party?
                                                          No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                            No
                                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                            Contingent
            Yes. Specify each creditor,                   Unliquidated
        including this creditor and its relative          Disputed
        priority.



 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.               $8,700,000.00

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Enlightened Fitness and Wellness, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF MISSISSIPPI

 Case number (if known)          16-51316
                                                                                                                                               Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.
       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        Unknown          $0.00
           City of Biloxi                                            Check all that apply.
           P.O. Box 508                                               Contingent
           Biloxi, MS 39533-0508                                      Unliquidated
                                                                      Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        Unknown          $0.00
           David V. Larosa, Sr.                                      Check all that apply.
           PO Box 1270                                                Contingent
           Gulfport, MS 39502                                         Unliquidated
                                                                      Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                page 1 of 17
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 Debtor       Enlightened Fitness and Wellness, Inc.                                                          Case number (if known)   16-51316
              Name

 2.3       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                          Unknown          $0.00
           Department of Revenue                                     Check all that apply.
           P.O. Box 23075                                             Contingent
           Jackson, MS 39225-3075                                     Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.4       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                          Unknown          $0.00
           Mississippi Department of Revenue                         Check all that apply.
           P.O. Box 960                                               Contingent
           Jackson, MS 39205                                          Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.5       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                          Unknown          $0.00
           MS State Tax Commission                                   Check all that apply.
           Sales Tax Division                                         Contingent
           P.O. Box 960                                               Unliquidated
           Jackson, MS 39205-0960                                     Disputed
           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.6       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                          Unknown          $0.00
           State Tax Commission                                      Check all that apply.
           Sales & Use Tax Bureau                                     Contingent
           P.O. Box 1033                                              Unliquidated
           Jackson, MS 39215                                          Disputed
           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 2 of 17
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 Debtor       Enlightened Fitness and Wellness, Inc.                                                  Case number (if known)            16-51316
              Name

 3.1      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $290.00
          ADP                                                                 Contingent
          1851 N Resler Drive                                                 Unliquidated
          MS-100                                                              Disputed
          El Paso, TX 79912
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.2      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          ADS Systems, LLC                                                    Contingent
          P.O. Box 1242                                                       Unliquidated
          Ocean Springs, MS 39566                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Airgas USA, LLC                                                     Contingent
          P.O. Box 532609                                                     Unliquidated
          Atlanta, GA 30353-2609                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3042
                                                                             Is the claim subject to offset?    No  Yes
 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $588.21
          All-Phase Electric Supply                                           Contingent
          P.O. Box 5410                                                       Unliquidated
          Covington, LA 70434                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9654
                                                                             Is the claim subject to offset?    No  Yes
 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          AmTrust North America                                               Contingent
          P. O. Box 6939                                                      Unliquidated
          Cleveland, OH 44101-1939                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5589
                                                                             Is the claim subject to offset?    No  Yes
 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Aqua Creek Products                                                 Contingent
          9889 Garrymore Ln.                                                  Unliquidated
          Missoula, MT 59808                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7625
                                                                             Is the claim subject to offset?    No  Yes
 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          ASCAP                                                               Contingent
          P.O. Box 331608-7515                                                Unliquidated
          Nashville, TN 37203-9998                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7524
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 3 of 17
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 Debtor       Enlightened Fitness and Wellness, Inc.                                                  Case number (if known)            16-51316
              Name

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Bay Motor Winding                                                   Contingent
          PO Box 411                                                          Unliquidated
          Long Beach, MS 39560                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       IT01
                                                                             Is the claim subject to offset?    No  Yes
 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Biloxi Bay Chamber of Commerce                                      Contingent
          PO Box 889                                                          Unliquidated
          Biloxi, MS 39533                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Biloxi Paper Company                                                Contingent
          10437 Lamey Bridge Road                                             Unliquidated
          D'Iberville, MS 39540                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          BMI                                                                 Contingent
          10 Music Square East                                                Unliquidated
          Nashville, TN 37203                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Bourque, James                                                      Contingent
          2250 Club Moss Circle                                               Unliquidated
          Biloxi, MS 39532                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Brian Pitre, MD                                                     Contingent
          P.O. Box 756                                                        Unliquidated
          Ocean Springs, MS 39564                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $6,832,569.05
          Cedar Lake Wellness Facility                                        Contingent
          1735 Richard Drive                                                  Unliquidated
          Biloxi, MS 39532                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Enlightened Fitness and Wellness, Inc.                                                  Case number (if known)            16-51316
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 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $101,934.46
          Charter Bank                                                        Contingent
          1721 Medical Park Dr.                                               Unliquidated
          Suite 103                                                           Disputed
          Biloxi, MS 39532
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $200.00
          CJ Bailey Skills Academy                                            Contingent
          C.J. Bailey                                                         Unliquidated
          5521 Claresholm Drive                                               Disputed
          Gautier, MS 39553
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $650.00
          CMS, Inc.                                                           Contingent
          5730 So. 1050 E.                                                    Unliquidated
          Ogden, UT 84405                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Coast Elevator Company                                              Contingent
          P.O. BOX 858                                                        Unliquidated
          Ocean Springs, MS 39566                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Coast Life Church                                                   Contingent
          11975 Seaway Road                                                   Unliquidated
          Gulfport, MS 39503                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Coastal Sew & Vac                                                   Contingent
          12100 Highway 49                                                    Unliquidated
          Gulfport, MS 39503-3093                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Constant Contact                                                    Contingent
          Website                                                             Unliquidated
          Waltham, MA                                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Currie Johnson Griffin & Myers, PA                                  Contingent
          925 Tommy Munro Drive                                               Unliquidated
          Suite H                                                             Disputed
          Biloxi, MS 39532
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       404M                         Is the claim subject to offset?    No  Yes
 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          D&L Fire & Safety Company                                           Contingent
          14550 Lemoyne Blvd                                                  Unliquidated
          Biloxi, MS 39532                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Darling Ingredients, Inc.                                           Contingent
          P.O. Box 530401                                                     Unliquidated
          Atlanta, GA 30353-0401                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0953
                                                                             Is the claim subject to offset?    No  Yes
 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $36,250.00
          David McAfee, MD                                                    Contingent
          1463 Pleasant Hill Road                                             Unliquidated
          Allons, TN 38541
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $83,850.60
          David McAfee, MD                                                    Contingent
          1463 Pleasant Hill Road                                             Unliquidated
          Allons, TN 38541
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Davis-Bond Training Systems, Inc.                                   Contingent
          d/b/a Gracie United Biloxi                                          Unliquidated
          P.O. Box 455                                                        Disputed
          Wiggins, MS 39577
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Delta Sanitation dba Waste Pro - Gautier                            Contingent
          PO Box 865289                                                       Unliquidated
          Orlando, FL 32886-0001                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,443.89
          Dorothy Dunning                                                     Contingent
          10598 D`Iberville Blvd.                                             Unliquidated
          D`Iberville, MS 39540                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Dorothy Dunning, RN                                                 Contingent
          1309 Shell Landing Blvd                                             Unliquidated
          Gautier, MS 39553                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,028.01
          Douglas Roll                                                        Contingent
          105 Holcomb Blvd.                                                   Unliquidated
          Ocean springs, MS 39564                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,376.00
          Dr. Charles Winters                                                 Contingent
          160 Pittman Rd.                                                     Unliquidated
          Ocean springs, MS 39564                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,082.11
          Dr. George Salloum                                                  Contingent
          406 Saylor Dr.                                                      Unliquidated
          Biloxi, MS 39531                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,917.33
          Dr. John Drake                                                      Contingent
          12018 Oak Hollow Dr.                                                Unliquidated
          Vancleave, MS 39565                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,421.29
          Dr. Michael MCKay                                                   Contingent
          365 Lakeview Blvd.                                                  Unliquidated
          Biloxi, MS 39531                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,514.01
          Dr. Presley Mallett                                                 Contingent
          P.O. Box 6757                                                       Unliquidated
          D`Iberville, MS 39540                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,028.01
          Dr. Shaun MCKee                                                     Contingent
          717 Hidden Oaks Dr.                                                 Unliquidated
          Ocean springs, MS 39564                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,376.00
          Dr. Tracey Pittman                                                  Contingent
          12 Marks Rd.                                                        Unliquidated
          Ocean springs, MS 39564                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,191.48
          Dr. Vincent Pisciotta, M.D.                                         Contingent
          963 Riverview Dr.                                                   Unliquidated
          Biloxi, MS 39532                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Dunaway Signs                                                       Contingent
          12224 Parker Creek Rd                                               Unliquidated
          Biloxi, MS 39532                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Dunnaway Small Engine                                               Contingent
          11378 Cedar Lake Rd                                                 Unliquidated
          Biloxi, MS 39532                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $28,615.46
          Enlightened Properties                                              Contingent
          301 South 40th Ave                                                  Unliquidated
          #1
          Hattiesburg, MS 39402
                                                                              Disputed
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Eva Magiros, MD.                                                    Contingent
          1720a Medical Park                                                  Unliquidated
          Suite 340                                                           Disputed
          Biloxi, MS 39532
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          F.E.B. Distributing Company                                         Contingent
          12155 Intraplex Parkway                                             Unliquidated
          Gulfport, MS 39503                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Fire & Ice Heating & Cooling                                        Contingent
          2637 Executive Place                                                Unliquidated
          Biloxi, MS 39531                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          First Insurance Funding Corp                                        Contingent
          PO Box 7000                                                         Unliquidated
          Carol Stream, IL 60197-7000                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Fisher Brown Bottrell Ins, Inc.                                     Contingent
          P.O. Box 1490                                                       Unliquidated
          Jackson, MS 39215-1490                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Frascogna Courtney, PLLC                                            Contingent
          P.O. Box 23126                                                      Unliquidated
          Jackson, MS 39225-3126                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Global Pay                                                          Contingent
          Mercury Payment Sytems                                              Unliquidated
          150 Mercury Village Dr                                              Disputed
          Durango, CO 81301
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Gracie United                                                       Contingent
          1735 Richard Dr - A3                                                Unliquidated
          Biloxi, MS 39532                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Guardian                                                            Contingent
          PO Box 677458                                                       Unliquidated
          Dallas, TX 75267-7458                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,003.12
          Gulf Coast Business Supply                                          Contingent
          P.O. Box 2116                                                       Unliquidated
          Gulfport, MS 39505-2116                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Gulf Coast Shotokan Karate                                          Contingent
          451 US-90                                                           Unliquidated
          Waveland, MS 39576                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Gulf South Technology                                               Contingent
          PO Box 8641                                                         Unliquidated
          Biloxi, MS 39535                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Gwenn Demauriac                                                     Contingent
          1807 Burton Avenue                                                  Unliquidated
          Gulfport, MS 39507                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Harrison County Health Dept - Biloxi                                Contingent
          761 Esters Blvd                                                     Unliquidated
          Biloxi, MS 39530                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Harrison County Utility Authority                                   Contingent
          P.O. Box 2409                                                       Unliquidated
          Gulfport, MS 39505                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,500.00
          Heather Caylor                                                      Contingent
          H&S Athletics, LLC d/b/a Gracie United                              Unliquidated
          5021 Courthouse Road                                                Disputed
          Gulfport, MS 39507
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Industrial Commercial Fire Protection                               Contingent
          1209-C Hwy 613                                                      Unliquidated
          Lucedale, MS 39452-9871                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Ink Technologies                                                    Contingent
          7600 McEwen Road                                                    Unliquidated
          Dayton, OH 45459                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Intuit                                                              Contingent
          Website                                                             Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Janet Sellers AP                                                    Contingent
          1735 Richard Drive                                                  Unliquidated
          Biloxi, MS 39532                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $450.03
          Jimmy Moran                                                         Contingent
          13348 John Clark Road                                               Unliquidated
          Gulfport, MS 39503                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Enlightened Fitness and Wellness, Inc.                                                  Case number (if known)            16-51316
              Name

 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,458.67
          Kathleen C. Arnold                                                  Contingent
          1278 Ocean Springs Rd.                                              Unliquidated
          Ocean springs, MS 39564                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,350.00
          Lanier's Gymnastics                                                 Contingent
          Cynthia A. Wallace                                                  Unliquidated
          16100 Landon Road                                                   Disputed
          Gulfport, MS 39503
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Laser Printer Checks                                                Contingent
          7 Vayoel Moshe Drive                                                Unliquidated
          # 101                                                               Disputed
          Monroe, NY 10950
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Leo Kidd                                                            Contingent
          1735 Richard Drive                                                  Unliquidated
          Biloxi, MS 39532                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Lionel Ceccorulli, Jr.                                              Contingent
          1735 Richard Drive                                                  Unliquidated
          Biloxi, MS 39532                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Lonnie Breitweiser                                                  Contingent
          13188 Old Hwy 67                                                    Unliquidated
          Biloxi, MS 39532                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Lynn Moran                                                          Contingent
          13348 John Clark Road                                               Unliquidated
          Gulfport, MS 39503                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 12 of 17
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 Debtor       Enlightened Fitness and Wellness, Inc.                                                  Case number (if known)            16-51316
              Name

 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $541.42
          Malpass Pool & Spa Co., Inc.                                        Contingent
          1991 Popps Ferry Road                                               Unliquidated
          Biloxi, MS 39532                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          McClure's Comfort Zone                                              Contingent
          P.O. Box 1630                                                       Unliquidated
          Gautier, MS 39553                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Mississippi Department of Human Services                            Contingent
          State Disbursement Unit                                             Unliquidated
          P.O. Box 23094                                                      Disputed
          Jackson, MS 39225-3094
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Mississippi Secretary of State                                      Contingent
          Charities Registration                                              Unliquidated
          P.O. Box 136                                                        Disputed
           MS 39205-0136
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Molsbee Plumbing, LLC.                                              Contingent
          159 Purvis-Olon Road                                                Unliquidated
          Purvis, MS 39475                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Morgan Enterprises, Inc.                                            Contingent
          706 Deer Crossing Ct West                                           Unliquidated
          Madisonville, LA 70447                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1866
                                                                             Is the claim subject to offset?    No  Yes
 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          MS State Dept. of Health                                            Contingent
          761 Esters Blvd                                                     Unliquidated
          Biloxi, MS 39530                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Enlightened Fitness and Wellness, Inc.                                                  Case number (if known)            16-51316
              Name

 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          NATIONAL GYM SUPPLY                                                 Contingent
          5500 WEST 83RD DRIVE                                                Unliquidated
          LOS ANGELES, CA                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $299.60
          Necaise Locksmith Service                                           Contingent
          2300 28th Street                                                    Unliquidated
          Gulfport, MS 39501                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Piltz, Williams, LaRosa & Company                                   Contingent
          1077 Tommy Munro Drive                                              Unliquidated
          Biloxi, MS 39532                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,647.80
          Poolsure                                                            Contingent
          P.O. Box 55372                                                      Unliquidated
          Houston, TX 77255-5372                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       I025
                                                                             Is the claim subject to offset?    No  Yes
 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Precor                                                              Contingent
          P.O. Box 3136                                                       Unliquidated
          Carol Stream, IL 60132-3136                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,197.19
          Premium Assignment Corporation                                      Contingent
          P.O. Box 8000                                                       Unliquidated
          Tallahassee, FL 32314-8000                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0813
                                                                             Is the claim subject to offset?    No  Yes
 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $900.00
          PT@EFIT                                                             Contingent
          Douglas Roll                                                        Unliquidated
          1735 Richard Drive                                                  Disputed
          Biloxi, MS 39532
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Enlightened Fitness and Wellness, Inc.                                                  Case number (if known)            16-51316
              Name

 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Ralph Jasper                                                        Contingent
          107 Forest Dr.                                                      Unliquidated
          D'Iberville, MS 39540                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          S.S. Nesbitt                                                        Contingent
          960 Downtowner Blvd.                                                Unliquidated
          Mobile, AL 36609                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Sherwin-Williams                                                    Contingent
          14321 Dedeaux Rd.                                                   Unliquidated
          Suite 7                                                             Disputed
          Gulfport, MS 39503
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $140.71
          Southern Pest Control, Inc.                                         Contingent
          3211 Old Mobile Hwy                                                 Unliquidated
          Pascagoula, MS 39581                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $71.95
          Thomas Worrel                                                       Contingent
          Petty Cash Custodian                                                Unliquidated
          1735 Richard Drive                                                  Disputed
          Biloxi, MS 39532
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Thomas Worrel                                                       Contingent
          941 Herlihy St.                                                     Unliquidated
          Waveland, MS 39576                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Trane U.S. Inc.                                                     Contingent
          PO Box 845053                                                       Unliquidated
          Dallas, TX 75284-5053                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Enlightened Fitness and Wellness, Inc.                                                  Case number (if known)            16-51316
              Name

 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $47,878.94
          Trustmark National Bank                                             Contingent
          Loan Operations                                                     Unliquidated
          P.O. Box 1182                                                       Disputed
          Jackson, MS 39215-1182
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          TSC Tractor Supply                                                  Contingent
          13440 Hwy 49                                                        Unliquidated
          Gulfport, MS 39503                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $436.53
          Tyco Integrated Security, LLC                                       Contingent
          PO Box 371967                                                       Unliquidated
          Pittsburgh, PA 15250-7967                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,788.12
          United Healthcare Insurance Co.                                     Contingent
          Dept CH 10151                                                       Unliquidated
          Palatine, IL 60055-0151                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          US Post Office                                                      Contingent
          Pass Road                                                           Unliquidated
          Biloxi, MS 39531                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          Waste Pro - Gautier                                                 Contingent
          P.O. Box 865289                                                     Unliquidated
          Orlando, FL 32886-0001                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6.90
          WIX                                                                 Contingent
          Website                                                             Unliquidated
          New York, NY                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Enlightened Fitness and Wellness, Inc.                                                  Case number (if known)            16-51316
              Name

 3.99      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  Unknown
           WLOX                                                               Contingent
           Lockbox #1380                                                      Unliquidated
           P.O. Box 11407                                                     Disputed
           Birmingham, AL 35246-1380
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                             0.00
 5b. Total claims from Part 2                                                                            5b.    +   $                     7,230,996.89

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                        7,230,996.89




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 Fill in this information to identify the case:

 Debtor name         Enlightened Fitness and Wellness, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF MISSISSIPPI

 Case number (if known)         16-51316
                                                                                                                                Check if this is an
                                                                                                                                 amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                             12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1.        State what the contract or
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                   Cedar Lake Wellness Facility, LLC
             List the contract number of any                                       1735 Richard Drive
                   government contract                                             Biloxi, MS 39532


 2.2.        State what the contract or
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                         CJ Bailey Skills Academy
                                                                                   C.J. Bailey
             List the contract number of any                                       5521 Claresholm Drive
                   government contract                                             Gautier, MS 39553


 2.3.        State what the contract or
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                   Gulf Coast Shotokan Karate
             List the contract number of any                                       451 US-90
                   government contract                                             Waveland, MS 39576


 2.4.        State what the contract or
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                         Heather Caylor
                                                                                   H&S Athletics, LLC d/b/a Gracie United
             List the contract number of any                                       5021 Courthouse Road
                   government contract                                             Gulfport, MS 39507




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                           Page 1 of 2
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 Debtor 1 Enlightened Fitness and Wellness, Inc.                                             Case number (if known)   16-51316
              First Name              Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.5.        State what the contract or
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           Lanier's Gymnastics
                                                                                     Cynthia A. Wallace
             List the contract number of any                                         16100 Landon Road
                   government contract                                               Gulfport, MS 39503


 2.6.        State what the contract or
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           PT@EFIT
                                                                                     Douglas Roll
             List the contract number of any                                         1735 Richard Drive
                   government contract                                               Biloxi, MS 39532




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                    Page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         Enlightened Fitness and Wellness, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF MISSISSIPPI

 Case number (if known)         16-51316
                                                                                                                              Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

  No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
  Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                  Name                            Check all schedules
                                                                                                                                that apply:

    2.1      Cedar Lake                        1735 Richard Drive                               Trustmark National              D        2.1
             Wellness Facility,                Biloxi, MS 39532                                 Bank                             E/F
             LLC
                                                                                                                                G




Official Form 206H                                                       Schedule H: Your Codebtors                                          Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Enlightened Fitness and Wellness, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF MISSISSIPPI

 Case number (if known)         16-51316
                                                                                                                                   Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                           12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                 Schedule H: Codebtors (Official Form 206H)

                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                 Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          October 5, 2016                         X /s/ Dorothy Dunning, RN
                                                                       Signature of individual signing on behalf of debtor

                                                                       Dorothy Dunning, RN
                                                                       Printed name

                                                                       President
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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